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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                         )
In re:                                                   )     Chapter 11
                                                         )
Z GALLERIE, LLC, et al., 1                               )     Case No. 19-10488 (LSS)
                                                         )
                                   Debtors.              )     (Jointly Administered)
                                                         )
                                                         )     Related to Docket Nos. 4, 5, 7, 8, 9, 10, 11, 12, 13,
                                                         )     14, 22, 26, 53, 54, 55, 56, 57, 58, 59, 74, and 75


              OMNIBUS NOTICE OF SECOND DAY HEARING TO BE HELD ON
               APRIL 10, 2019 AT 10:00 A.M. (PREVAILING EASTERN TIME)

        PLEASE TAKE NOTICE that on March 11, 2019 (the “Petition Date”), the
above-captioned debtors (collectively, the “Debtors”) each filed a voluntary petition for relief
under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United
States Bankruptcy Court for the District of Delaware.

        PLEASE TAKE FURTHER NOTICE that the following motions (collectively, the
“Interim/Final Relief Motions”) were either approved on an interim basis and/or will be heard on
a final basis at a hearing scheduled for April 10, 2019 at 10:00 a.m. (Prevailing Eastern Time)
(the “Second Day Hearing”) before the Honorable Laurie Selber Silverstein, United States
Bankruptcy Judge, United States Bankruptcy Court for the District of Delaware, 824 North
Market Street, 6th Floor, Courtroom No. 2, Wilmington, Delaware 19801:

         1.        Creditor Matrix Motion. Debtors’ Motion Seeking Entry of an Order
                   (I) Authorizing the Debtors to File a Consolidated List of Creditors in
                   Lieu of Submitting a Separate Mailing Matrix for Each Debtor,
                   (II) Authorizing the Debtors to Redact Certain Personal Identification
                   Information for Individual Creditors, and (III) Granting Related Relief
                   [Docket No. 4];

         2.        SOFA/Schedules Extension Motion. Debtors’ Motion Seeking Entry of
                   an Order (I) Extending Time to File Schedules of Assets and
                   Liabilities, Schedules of Current Income and Expenditures, Schedules of
                   Executory Contracts and Unexpired Leases, and Statements of Financial
                   Affairs and (II) Granting Related Relief [Docket No. 5];


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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are Z Gallerie, LLC (3816) and Z Gallerie Holding Company, LLC (5949). The location of the
    Debtors’ service address is: 1855 West 139th Street, Gardena, CA 90249.



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        3.         Cash Management Motion. Debtors’ Motion Seeking Entry of Interim
                   and Final Orders (I) Authorizing the Debtors to (A) Continue to Operate
                   Their Cash Management System, (B) Honor Certain Prepetition
                   Obligations Related Thereto, and (C) Maintain Existing Business Forms,
                   and (II) Granting Related Relief [Docket No. 7];

        4.         Customer Programs Motion. Debtors’ Motion Seeking Entry of Interim
                   and Final Orders (I) Authorizing the Debtors to Maintain and Administer
                   Their Existing Customer Programs and Honor Certain Prepetition
                   Obligations Related Thereto and (II) Granting Related Relief
                   [Docket No. 8];

        5.         Utilities Motion. Debtors’ Motion Seeking Entry of Interim and Final
                   Orders (I) Determining Adequate Assurance of Payment for Future Utility
                   Services, (II) Prohibiting Utility Providers From Altering, Refusing, or
                   Discontinuing Utility Services, (III) Establishing Procedures for
                   Determining Adequate Assurance of Payment, (IV) Authorizing Fee
                   Payments to Engie for Services Performed, (V) Requiring Utility
                   Providers to Return Deposits for Utility Services No Longer in Use, and
                   (VI) Granting Related Relief [Docket No. 9];

        6.         Taxes Motion. Debtors’ Motion Seeking Entry of Interim and Final
                   Orders (I) Authorizing the Payment of Certain Prepetition Taxes and Fees
                   and (II) Granting Related Relief [Docket No. 10];

        7.         Comprehensive Vendors Motion. Debtors’ Motion for Entry of Interim
                   and Final Orders (I) Authorizing (A) Debtors to Pay Certain Prepetition
                   Claims of Trade Claimants and Other Vendors, and (B) Procedures
                   Related Thereto, (II) Granting Administrative Priority for Outstanding
                   Orders, and (III) Granting Related Relief [Docket No. 11];

        8.         Insurance Motion. Debtors’ Motion Seeking Entry of an Order (I)
                   Authorizing the Debtors to (A) Pay Their Obligations Under Insurance
                   Policies Entered into Prepetition, (B) Continue to Pay Brokerage Fees,
                   and (C) Renew, Supplement, Modify, or Purchase Insurance Coverage,
                   and (II) Granting Related Relief [Docket No. 12];

        9.         Store Closing Motion. Debtors’ Motion Seeking Entry of Interim and
                   Final Orders (I) Authorizing Debtors to Reject Certain Unexpired Leases
                   of Nonresidential Real Property, (II) Approving Procedures for Store
                   Closing Sales, (III) Authorizing Customary Bonuses to Employees of
                   Closing Stores, and (IV) Granting Related Relief [Docket No. 13];




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        10.        Wages Motion. Debtors’ Motion Seeking Entry of Interim and Final
                   Orders (I) Authorizing, but Not Directing, the Debtors to (A) Pay
                   Prepetition Employee Wages, Salaries, Other Compensation,
                   Reimbursable Employee Expenses, and Non-Insider Employee Incentive
                   Programs, and (B) Continue Employee Benefits Programs and (II)
                   Granting Related Relief [Docket No. 14];

        11.        Bidding Procedures Motion. Debtors’ Motion Seeking Entry of an
                   Order (I) Approving the Bidding Procedures, (II) Scheduling the Bid
                   Deadlines and the Auction, (III) Approving the Form and Manner of
                   Notice Thereof, and (IV) Granting Related Relief [Docket No. 22]; and

        12.        DIP Financing Motion. Debtors’ Motion Seeking Entry of Interim and
                   Final Orders (I) Authorizing the Debtors to Obtain Postpetition
                   Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III)
                   Granting Liens and Providing Superpriority Administrative Expense
                   Status, (IV) Granting Adequate Protection to the Prepetition Lenders, (V)
                   Modifying Automatic Stay, (VI) Scheduling a Final Hearing, and (VII)
                   Granting Related Relief [Docket No. 26].

        PLEASE TAKE FURTHER NOTICE that objections, if any, to the Interim/Final
Relief Motions must comply with the Federal Rules of Bankruptcy Procedure and the Local
Bankruptcy Rules for the District of Delaware. Objections, if any, to the Interim/Final Relief
Motions must be filed with the Court and served upon each of the parties set forth below on or
before April 3, 2019 by 4:00 p.m. (Prevailing Eastern Time): (a) the Debtors, 1855 West
139th Street, Gardena, CA 90249, Attn: Mark Weinsten; (b) proposed counsel to the Debtors, (c)
proposed counsel to the Debtors, Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New
York 10022, Attn: Joshua A. Sussberg (joshua.sussberg@kirkland.com) and 300 North LaSalle
Street, Chicago, Illinois 60654, Attn: Justin Bernbrock justin.bernbrock@kirkland.com) and
Joshua Altman (joshua.altman@kirkland.com) and Klehr Harrison Harvey Branzburg LLP, 919
North Market Street, Suite 1000, Wilmington, Delaware 19801, Attn: Domenic E. Pacitti and
Michael W. Yurkewicz; (d) counsel to KeyBank National Association, Buchanan Ingersoll &
Rooney PC, 919 North Market Street, Suite 1500, Wilmington, Delaware 19801, Attn: Mary
Caloway and Buchanan Ingersoll & Rooney PC, 50 S. 16th Street, Suite 3200, Philadelphia, PA
19102, Attn: Mark Pfeiffer; (e) counsel to any statutory committee appointed in these cases;
(f) counsel to KKR Credit Advisors (US) LLC, Proskauer Rose LLP, Eleven Times Square, New
York, NY 10036-8299, Attn: Vincent Indelicato and Chris Theodoridis and Morris, Nichols,
Arsht & Tunnell, LLP, 1201 N. Market Street, Suite 1800, Wilmington, DE 19801, Attn: Curtis
S. Miller and Matthew B. Harvey, and (g) Office of The United States Trustee, 844 King Street,
Suite 2207, LockBox 35, Wilmington, Delaware 19801, Attn: Jaclyn Weissgerber.




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        PLEASE TAKE FURTHER NOTICE that copies of the Interim/Final Relief Motions
and the interim orders entered with respect to the Interim/Final Relief Motions can be obtained
through the Court’s website at https://ecf.deb.uscourts.gov, referencing Case No. 19-10488
(LSS),     and on the website of the Debtors’ notice and claims agent, Stretto, at
http://cases.stretto.com/zgallerie. Further information may be obtained by calling (855) 276-9008
or emailing TeamZGallerie@stretto.com.

        PLEASE TAKE FURTHER NOTICE that the Second Day Hearing may be continued
or adjourned thereafter from time to time without further notice other than an announcement of
the adjourned date or dates at the Second Day Hearing or at a later hearing. The Debtors will file
an agenda before the Second Day Hearing, which may modify or supplement the motions and
applications to be heard at the Second Day Hearing.

       PLEASE TAKE FURTHER NOTICE that you need not appear at the hearing if you do
not object to the relief requested in any of the Interim/Final Relief Motions.

     PLEASE TAKE FURTHER NOTICE THAT IF YOU DO NOT WANT THE
COURT TO GRANT THE RELIEF REQUESTED IN THE INTERIM/FINAL RELIEF
MOTIONS, OR IF YOU WANT THE COURT TO CONSIDER YOUR VIEW ON THE
INTERIM/FINAL RELIEF MOTIONS, THEN YOU OR YOUR ATTORNEY MUST
ATTEND THE SECOND DAY HEARING. IF YOU OR YOUR ATTORNEY DO NOT
TAKE THESE STEPS, THE COURT MAY DECIDE THAT YOU DO NOT OPPOSE
THE RELIEF SOUGH IN THE INTERIM/FINAL RELIEF MOTIONS AND MAY
ENTER ORDERS GRANTING THE RELIEF REQUESTED IN THE INTERIM/FINAL
RELIEF MOTIONS.



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Dated: March 15, 2019               /s/ Domenic E. Pacitti
Wilmington, Delaware               Domenic E. Pacitti (DE Bar No. 3989)
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                                   Proposed Co-Counsel for the Debtors and Debtors in Possession




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